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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

__________________________________________
                                          )
PFIZER INC., WYETH LLC, PFIZER            )                Miscellaneous Action No.
PHARMACEUTICALS LLC, PF PRISM             )
C.V., and PFIZER MANUFACTURING            )                DECLARATION OF
                                          )                ROBERT L. FLORENCE IN
                                          )                SUPPORT OF NON-PARTY
                                          )                UNIMARK REMEDIES LTD.’S
HOLDINGS LLC,                             )                MOTION AND MEMORANDUM
                                          )                TO QUASH SUBPOENAS
                        Plaintiffs,       )
                                          )
            v.                            )
                                          )
MYLAN INC., MYLAN LABORATORIES            )                CONFIDENTIAL
LIMITED and MYLAN                         )
PHARMACEUTICALS INC.,                     )                Original case pending in the U.S.
                                          )                District Court for the District of
                                          )                Delaware, C.A. No. 15-26 (SLR)
                                          )
                        Defendants.       )
__________________________________________)


I, Robert L. Florence, declare as follows:

       I am a partner at the law firm of Parker Poe Adams & Bernstein LLP, 3355 Lenox Road,

Suite 750, Atlanta, Georgia 30326, which represents non-party Unimark Remedies Limited

(“Unimark”) in the above-captioned matter. I make this declaration based on my personal

knowledge and in connection with Non-Party Unimark Remedies Ltd.’s Motion and

Memorandum to Quash Subpoenas.

       1.      Attached hereto as Exhibit A is a true and complete copy of the Redacted – Public

Version of the Notice of Subpoenas filed in the above-styled case, having Civil Action No. 15-26

(SLR) currently pending in the U.S. District Court for the District of Delaware (the “Pending
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Litigation”).   Included therewith as Exhibit 1 to Exhibit A is a Subpoena to Testify at a

Deposition in a Civil Action directed to Unimark Remedies Limited Corporation and included

therewith as Exhibit 2 to Exhibit A is a Subpoena to Testify at a Deposition in a Civil Action

directed to Unimark Remedies Limited (collectively, the “Deposition Subpoenas”).

       2.       The Deposition Subpoenas, which are the subject of Unimark’s Motion to Quash,

command Unimark to appear for a deposition in Tampa at 2801 N. Florida Avenue, Tampa,

Florida 33602 on April 15, 2016 at 9:00 a.m., and, in the case of Unimark Remedies Limited, to

bring certain documents to the deposition.

       3.       Unimark is an Indian company having a principal place of business in Mumbai,

India. As indicated on Unimark’s website, and on Unimark’s foreign business registration filed

with the Office of the Florida Secretary of State, Unimark’s corporate office and principal place

of business is located at Enterprise Center,1st Floor, Orchid Lane, Nehru Road, Vile Parle (East),

Mumbai, India – 400099.

       4.       A true and complete copy of Unimark’s address from Unimark’s website is

attached hereto as Exhibit B, and a true and complete copy of Unimark’s foreign business

registration for the state of Florida is attached hereto as Exhibit C. Unimark does not have any

offices or employees in Florida.

       5.       Unimark has objected to the Deposition Subpoenas as invalid and timely served

its objections on Plaintiffs in the Pending Litigation. A redacted copy of Unimark’s served

objections is attached hereto as Exhibit D.

       6.       Prior to filing its Motion to Quash, Counsel for Unimark met and conferred with

counsel for Plaintiffs on April 8, 2016, regarding the invalidity of the Deposition Subpoenas and

counsel for Unimark informed Plaintiffs’ counsel that Unimark would be opposing the



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deposition subpoenas. Counsel for Plaintiffs disagreed that the subpoenas were invalid and

confirmed Plaintiffs’ belief that the subpoenas had been properly served on Unimark.

       7.      Prior to serving the invalid Deposition Subpoenas, Plaintiffs sought discovery

from Unimark in the Pending Litigation via the Letters Rogatory process of the Hague

Convention and filed a Motion for Letters Rogatory. Attached hereto as Exhibit E is a true and

complete copy of the redacted-public version of Plaintiffs’ motion.

       8.      The U.S. District Court for the District of Delaware granted a modified version of

Plaintiffs’ motion.   Attached hereto as Exhibit F is a copy of the Letter of Request for

International Judicial Assistance, issued on March 21, 2016, by U.S. District Court for the

District of Delaware. (D.I. #76).     The deposition topics and documents sought under the

Deposition Subpoenas are entirely duplicative of those contained in the Letter of Request.

       9.      The Deposition Subpoenas that are the subject of Unimark’s Motion to Quash are

not the first time that Plaintiffs have improperly sought discovery from Unimark via a subpoena.

In December 2015, Plaintiffs sought document discovery from Unimark via a Subpoena to

Produce Documents (the “December Document Subpoena”). Attached hereto as Exhibit G is a

true and complete copy of the redacted public version of the December Document Subpoena

filed in the Pending Litigation.

       10.     Unimark objected to the December Document Subpoena as invalid, including

inter alia, that the subpoena was invalid for violating the geographic limitations of Rule 45 (c) of

the Federal Rules of Civil Procedure. Attached hereto as Exhibit H is a true and complete copy

of a redacted version of Unimark’s Objections to the December Document Subpoena.

       11.     In order to reduce the burden on Unimark that would be incurred by the discovery

sought by Plaintiffs via Plaintiffs’ Motion for Letters Rogatory, Unimark agreed to provide a



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subset of the document discovery sought via the invalid December Document Subpoena.

Accordingly, Unimark voluntarily produced certain documents subject to, and without waiving,

its objections to the December Document Subpoena. Attached hereto as Exhibit I is a true and

complete copy of a letter dated February 26, 2016 to counsel for Plaintiffs regarding Unimark’s

voluntary cooperation.     Many of the deposition documents sought under the Deposition

Subpoenas are largely duplicative of those already voluntarily provided by Unimark to Plaintiffs,

such as the Drug Master File or DMF, batch records, testing and storage documents.

       12.     Unimark has also represented to Plaintiffs that Unimark may be willing to appear

voluntarily for a deposition in India in exchange for Plaintiffs’ narrowing the discovery sought

pursuant to the Hague Convention. Plaintiffs counsel has represented to Unimark’s counsel that

Plaintiffs served the Deposition Subpoenas because Unimark has not agreed to voluntarily

appear for a deposition.

       I declare under penalty of perjury that the foregoing is true and correct.


       Executed on: April 14, 2016


                                                     /s/ Robert L. Florence
                                                     Robert L. Florence




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